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                      UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF CALIFORNIA


     SYLVIA AHN,                         )
     Individually and as Successor-in-   )
     Interest to the Estate of
     Choung Woong Ahn,                   )
                                         )
                           Plaintiff,    )    Case No. 1:22-cv-00586
                                         )
                      v.                 )    SECOND AMENDED
                                              COMPLAINT AND DEMAND
                                         )    FOR JURY TRIAL
     GEO GROUP, INC.; UNITED             )
     STATES IMMIGRATION AND              )
     CUSTOMS ENFORCEMENT                 )
     and; UNITED STATES OF               )
     AMERICA,
                                         )
                        Defendants.      )



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    SECOND AMENDED COMPLAINT AND REQUEST FOR RELIEF




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 1                                        Introduction
 2
 3      1.        This is a survival, wrongful death, and disability discrimination action

 4           for compensatory and punitive damages arising out of the torture and

 5           preventable death by suicide of Choung Woong Ahn inside a solitary

 6           confinement cell at the Mesa Verde ICE Processing Facility (“Mesa

 7           Verde”).

 8                                           Parties

 9      2.        Plaintiff Sylvia Ahn (“Plaintiff”) is the natural and legal daughter of

10           the decedent, Choung Woong Ahn (“Mr. Ahn”), and an adult resident of

11           Houston, Texas. Plaintiff is the Successor-in-Interest of the Estate of

12           Choung Woong Ahn. Plaintiff brings this action Individually and on behalf

13           of the estate of Choung Woong Ahn.

14      3.        Decedent Choung Woong Ahn died while incarcerated at Mesa Verde

15           in Bakersfield, California on May 17, 2020. Prior to his imprisonment

16           Choung Woong Ahn was a resident of Oakland, California.

17      4.        At all times relevant to the Complaint, Defendant GEO Group, Inc.

18           (“GEO Group”) is and was a Florida corporation with its principal street

19           address located at 4955 Technology Way, Boca Raton, FL 33431.

20      5.        At all times relevant to the complaint GEO Group owned and operated

21           Mesa Verde in Bakersfield, CA pursuant to a contractual arrangement with



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22           government parties including, at times, the City of McFarland and U.S.

23           Immigration and Customs Enforcement.

24      6.        Defendant United States Immigration and Customs Enforcement

25           (“ICE”) is a federal law enforcement agency within the Department of

26           Homeland Security (“DHS”). ICE is responsible for the administrative

27           enforcement of immigration laws, including the detention and removal of

28           immigrants. Enforcement and Removal Operations (“ERO”), a division of

29           ICE, manages and oversees the immigration detention system.

30      7. Defendant United States of America manages Defendant ICE and has

31           waived sovereign immunity for claims brought under the Federal Tort

32           claims Act.

33

34                                   Jurisdiction and Venue

35      8.        This Court has subject matter jurisdiction over Plaintiff’s claims under

36           Section 504 of the Rehabilitation Act and the Alien Tort Statute (“ATS”)

37           pursuant to U.S.C § 1331 (federal question jurisdiction). This Court also has

38           subject matter jurisdiction under the Federal Tort Claims Act (“FTCA”).

39      9.        Venue is proper in this District under 28 U.S.C. § 1391(b). A

40           substantial part of the events or omissions giving rise to the claims occurred

41           in the Eastern District of California.



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42        10.        This Court has personal jurisdiction over GEO Group because the

43              corporation regularly conducts business in California and has sufficient

44              minimum contacts with California.

45        11. Plaintiff requests that this Court exercise supplemental jurisdiction over her

46              California state law claims pursuant to 28 U.S.C. § 1367.

47                                       Factual Allegations

48   I.              Mr. Ahn’s Detention and Death

49        12.        This case arises out of the torture and preventable death by suicide of

50              Mr. Ahn, a longtime US resident who was 74 years old at the time of his

51              death.

52        13.        Mr. Ahn was born in South Korea and entered the United States in

53              1988 as a Lawful Permanent Resident (“LPR”). He lived in the San

54              Francisco Bay Area until the time of his arrest and detention, maintaining

55              LPR status for over three decades, until his death.

56        14.        He was confined to state prison for years. During this time Mr. Ahn

57              developed severe depression and other mental health conditions and

58              attempted suicide at least three times, in 2014, 2015, and 2019.

59        15.        Although the State of California determined that Mr. Ahn should be

60              released to live in the community and granted his early release from prison

61              on parole, on or about February 21, 2020, ERO arrested Mr. Ahn at the



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62             Solano State Prison in Vacaville, California and took him into civil custody.

63             ERO then transported Mr. Ahn to Mesa Verde.1

64       16.        Mesa Verde is a federal immigration detention facility.

65       17.         On information and belief, ICE was the landowner of Mesa Verde at all

66             times relevant to this complaint.

67       18.        But, like many federal immigration detention facilities, Mesa Verde is

68             not operated by ICE but rather by a private contractor. In this case, in 2015,

69             ICE contracted GEO Group, through the City of McFarland, to operate Mesa

70             Verde.

71       19.        It was a questionable decision to say the least. Even at the time, GEO

72             Group had poor reputation for managing private prisons and detention

73             centers. Its facilities were known for “inadequate medical care,

74             understaffing, violence, and other issues.”2 In 2012 alone, two detainees died

75             while in custody in GEO Group facilities because they received inadequate




     1
       Other courts have noted the lack of foundation undergirding current immigration
     detention practices: “…[I]t would appear we are spending millions of our national
     treasure to lock up thousands of people who might better be released on strict bail
     conditions without impairing the safety of our citizens or the operations of our
     government.” Savino v. Souza, 459 F. Supp. 3d 317, 322 (D. Mass. 2020).
     2
       Fatal Neglect: How ICE Ignores Deaths in Detention, ACLU, Detention Watch
     Network & National Immigrant Justice Center at 6 (Feb. 2016), available at
     https://www.aclu.org/sites/default/files/field_document/fatal_neglect_acludwnnijc.
     pdf [hereinafter Fatal Neglect].

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76             medical care.3 A 2012 report by the Department of Justice about a GEO

77             Group-operated prison in Missouri identified “systemic, egregious practices”

78             at the facility, including inadequate medical care.4

79       20.         GEO Group lived up to its reputation after it gained the contract to

80             operate Mesa Verde. For example, a 2016 report stated: “Although … GEO

81             ha[s] gone to great lengths to hide information about their medical staffing,

82             the limited information available does indicate that there are frequent and

83             long-term vacancies for contractually-required positions, creating a

84             dangerous administrative limbo which allows facilities to pass inspection

85             while also saving money on personnel costs.”5 A 2018 investigation by an

86             inspector general of the nearby Adelanto Detention Center, also operated by

87             GEO Group, found nooses hung in cells.6 To date, Mesa Verde has been the




     3
       Id. at 7, 16.
     4
       David M. Reutter, GEO Group Pulls out of Mississipppi Prisons, Prison Legal
     News (Nov. 15, 2013), available at
     https://www.prisonlegalnews.org/news/2013/nov/15/geo-group-pulls-out-of-
     mississippi-prisons/.
     5
       A Toxic Relationship: Private Prisons and U.S. Immigration Detention, Detention
     Watch Network, at 7 (Dec. 2016), available at
     https://www.detentionwatchnetwork.org/sites/default/files/reports/A%20Toxic%20
     Relationship_DWN.pdf.
     6
       Miriam Jordan, Inspectors Find Nooses in Cells at Immigration Detention
     Facility, N.Y. Times (Oct. 2, 2018), available at
     https://www.nytimes.com/2018/10/02/us/oig-inspector-general-adelanto-
     immigrants-nooses.html.

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 88             subject of numerous lawsuits and federal investigations concerning the

 89             substandard medical and mental health treatment provided at the facility.7

 90       21.         Even so, ICE continued to retain GEO Group to run Mesa Verde, and

 91             even renewed their contract in 2019.

 92       22.        ICE also continued to have some authority over GEO Group’s

 93             operation of Mesa Verde—though its authority did not do detainees much

 94             good. For example, ICE had the authority to set substantive standards to

 95             govern the conditions at GEO, and to enforce those standards through

 96             inspections. But ICE’s inspections were perfunctory, and checked GEO

 97             Group’s policies rather than its actual practices. GEO Group was anyways

 98             notified of inspections in advance, giving it an opportunity to cover up or

 99             obscure issues at its facilities and so pass inspection without having to fix

100             problems.




      7
        “Indeed, the documentary evidence shows that the defendants have avoided
      widespread testing of staff and detainees at the facility, not for lack of tests, but for
      fear that positive test results would require them to implement safety measures that
      they apparently felt were not worth the trouble. This conduct by the defendants has
      put the detainees at serious risk of irreparable harm. The defendants have also
      jeopardized the safety of their own employees. And they have endangered the
      community at large.” Zepeda Rivas v. Jennings, Case No. 20-cv-02731-VC, ECF
      500 at p. 1 (N.D. Cal. Aug. 6, 2020).

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101       23.        The inspections were also generally unreliable, as inspections by

102             different divisions of ICE could come to inconsistent conclusions.8 Even

103             worse, across multiple facilities, GEO Group regularly passed ICE

104             inspection even when its facilities were dangerous and inhumane.9

105       24.        For example, three inspections in 2016 and 2017 concluded that GEO

106             Group met all standards at Mesa Verde related to suicide prevention and

107             intervention—a conclusion that, given what happened to Mr. Ahn, is highly

108             doubtful.

109       25.         To sum up, when ICE picked Mr. Ahn up from Solano prison and

110             deposited him at Mesa Verde in February 2020, the agency was entrusting

111             his health, safety, and wellbeing to GEO Group: a private contractor with a

112             track-record of poor performance, operating a very dangerous and risky kind

113             of facility, under virtually no oversight.

114       26.        That trust was undeserved. When Mr. Ahn entered Mesa Verde in

115             February 2020, he was only offered a cursory mental health screening and




      8
        Lives in Peril: How Ineffective Inspections Make ICE Complicit in Immigration
      Detention Abuse, The Immigration Detention Transparency and Human Rights
      Project, at 13 (Oct. 2015), available at
      https://immigrantjustice.org/sites/default/files/content-type/research-
      item/documents/2017-03/THR-Inspections-FOIA-Report-October-2015-
      FINAL.pdf
      9
        Id. at 4; Fatal Neglect at 3.

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116            his records were not examined to determine the extent of his mental illnesses

117            or identify past suicidal ideation and past suicide attempts.

118      27.        As Mr. Ahn remained at Mesa Verde, staff realized what would have

119            been apparent from his records: that Mr. Ahn was severely depressed,

120            experienced regular suicidal ideation, and had attempted suicide three times

121            in detention settings.

122      28.        On March 12, 2020, Mr. Ahn reported experiencing shortness of breath

123            and chest pain, and was admitted to the emergency department of Mercy

124            Hospital in Bakersfield, California. He received emergency surgery to

125            remove a mass on his lung.

126      29.        At the time Mr. Ahn was distressed and despondent, believing that he

127            had been diagnosed with lung cancer.

128      30.        The hospital requested that Mr. Ahn return shortly for follow up care

129            and to confirm the biopsy results. But ICE delayed authorizing and

130            scheduling the appointment for months.

131      31.        Mr. Ahn never received the follow up treatment or biopsy results.

132      32.        Then, in March 2020, the COVID-19 pandemic hit California. The

133            CDC warned immediately, from the very beginning of the pandemic, that

134            congregate settings created a high risk for COVID-19 transmission. Mesa




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135            Verde was undeniably one such setting: it housed detainees in four 100-

136            person dorms, and had virtually no possibility for social distancing.

137      33.        The need for a COVID-19 plan or pandemic protocols was immediate

138            and serious. But neither ICE nor GEO Group took even the minimum steps

139            that the situation required. In fact, by July 2020, there was still no facility-

140            specific plan in place at Mesa Verde.

141      34.        ICE also declined to exercise even its most basic kind of authority—to

142            release detainees who were at risk and posed no threat to public safety—in

143            order to reduce the population density at Mesa Verde and protect the health

144            of the detainees that remained there. As the pandemic progressed, Mesa

145            Verde remained far too full, and far too lax about detainee safety.

146      35.        Detainees noticed, and were afraid. On April 10, Mr. Ahn joined a

147            peaceful hunger strike occurring in his dormitory and began refusing meals

148            to protest the conditions at Mesa Verde.

149      36.        In April 2020, during a mental health appointment, Mr. Ahn reported

150            to a psychologist employed by GEO Group that he had feelings of sadness

151            and low energy, as well as trouble sleeping. The psychologist concluded that

152            Mr. Ahn had an unspecified depressive disorder and referred him to a

153            psychiatrist.




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154        37.        Later that same month, Mr. Ahn informed Mesa Verde medical staff

155              that he had attempted suicide at least three different times while in custody,

156              in 2014, 2015, and 2019.

157        38.        On April 30, 2020, Mr. Ahn reported to mental health staff in a “talk

158              therapy” session that his depression was “6-7/10 (10 being the worst).” He

159              expressed feelings of anxiety and not “want[ing] to live in this life.”

160        39.        Mr. Ahn continued to become more distressed and despondent because

161              of the conditions inside Mesa Verde, and in particular, their now well-

162              documented and dangerous mishandling of the COVID-19 pandemic.10

163        40.        Mr. Ahn submitted at least three requests for release to ICE through his

164              lawyers. Each time, ICE declined to release this 74-year-old detainee with




      10
        See, e.g., Joint Statement by the detained people at Mesa Verde (Aug. 6, 2020),
      https://www.centrolegal.org/wp-content/uploads/2020/08/MV-COVID-19-
      Outbreak-Statement.pdf (Mesa Verde detainees reporting that as of early August
      2020, “new people continued to arrive in our dorms, straight from prisons with
      massive COVID-19 outbreaks, without being quarantined or even tested for the
      virus”); Zepeda Rivas v. Jennings, No. 20-cv-02731-VC, 2020 WL 3055449 at *4
      (N.D. Cal. June 9, 2020) (ordering ICE to close intake at Mesa Verde and
      commenting that ICE’s conduct “since the pandemic began ha[s] shown beyond
      doubt that ICE cannot currently be trusted to prevent constitutional violations at
      [Mesa Verde] without judicial intervention.” and further finding that ICE did not
      regularly quarantine or test detainees transferred from COVID-19-infected prisons
      upon intake at Mesa Verde, but rather brought them directly into dormitories);
      Zepeda Rivas v. Jennings, No. 20-CV-02731-VC, 2020 WL 4554646, at *1 (N.D.
      Cal. Aug. 6, 2020) (ordering ICE to stop incoming transfers to Mesa Verde).

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165            serious mental illness and multiple co-morbidities, including diabetes and

166            heart disease.

167      41.         On May 11, 2020, Mr. Ahn wept and then fell into a despondent

168            silence upon learning that his latest request for release had been denied,

169            commenting to others that he would never get out of detention.

170      42.         On May 12, 2020, Mr. Ahn was admitted to Mercy Hospital in

171            Bakersfield due to chest pain.

172      43.         Throughout his detention at Mesa Verde, Mr. Ahn made several

173            medical requests due to persistent pain in his feet, his shoulder, and his

174            chest.

175      44.         Further, his diabetes and high blood pressure medication were not

176            refilled in a timely manner, and he made several complaints regarding this

177            lack of proper treatment.

178      45.         On the day Mr. Ahn was hospitalized, he was struggling to breathe,

179            complaining of chest pain, and had liquid coming out of his nose.

180      46.         Mr. Ahn returned to Mesa Verde on May 14, 2020, after receiving a

181            negative COVID-19 test.

182      47.         Despite the fact that he had tested negative, Mr. Ahn was placed in a

183            solitary isolation unit upon his return with no legitimate purpose identified

184            for this isolation.



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185      48.        Despite Mr. Ahn’s current mental state, diagnosed depression, and past

186            suicide attempts, he was placed in a solitary cell with a “tie off point” and

187            bed sheet, and no human contact.

188      49.        The availability of a tie off point and bed sheet or other rope-like

189            device are high risk factors for suicide attempts when paired with the mental

190            health diagnosis and suicide-attempt history of Mr. Ahn.

191      50.        Even if GEO Group’s staff had reason to suspect that Mr. Ahn had

192            contracted COVID, his placement in solitary confinement would have been

193            unwarranted and dangerous, particularly for someone with Mr. Ahn’s mental

194            health conditions and history of suicidality. At the time, public health

195            experts warned against ICE’s “practice . . . of locking people in conditions .

196            . . equivalent to punitive solitary confinement . . . as a form of ‘quarantine’

197            or ‘medical isolation’” in response to the COVID-19 pandemic, as it

198            subjected detained people to “significant risk of grave harm (including harm

199            that may be permanent, even fatal).” Citing “widely accepted” scientific

200            consensus, experts explained that “ICE detainees with pre-existing mental

201            illness or emotional impairment are especially at risk”; when “placed in

202            conditions that are the equivalent of solitary confinement” they are

203            “especially likely to suffer an exacerbation of their psychiatric disability,”

204            rendering them “even more medically and psychologically vulnerable.”



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205      51.         Experts concluded that solitary confinement is by design an

206            “inappropriate, ill-conceived, and counter-productive” tool for quarantine.

207            Among other things, detainees held in solitary often lack access to adequate

208            medical care and hygiene supplies “even more acute[ly]” than in the general

209            population, surfaces may be unsanitary, and without the use of negative

210            pressure rooms, the virus can still easily spread through airborne

211            transmission. As such, this practice “very likely exacerbate[s] rather than

212            limit[s] or alleviate[s] the spread of COVID-19” in ICE facilities. Medical

213            professionals have further highlighted Mr. Ahn’s case as illustrating how

214            “preemptive lockdowns” in a “solitary confinement” setting, marked by

215            “extreme isolation and stark conditions,” pose “grave dangers to [detained

216            persons’] mental and physical health” and threaten “needless suffering and

217            loss of life.”

218      52.         Moreover, even though GEO placed Mr. Ahn in solitary as an alleged

219            COVID-19 safety measure, ICE and GEO were at the time still regularly

220            accepting incoming transfers of detainees from California prisons with

221            confirmed outbreaks of COVID-19, and placing them directly in the

222            dormitories at Mesa Verde, without requiring quarantining or regular testing.

223      53.         This practice continued for months after Mr. Ahn’s death, until a

224            federal court ordered ICE and GEO Group to stop, finding that their



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225            inadequate testing and quarantine protocols likely violated the Fifth

226            Amendment rights of all detainees.

227      54.        After he was placed in solitary, Mr. Ahn informed the psychologist that

228            he had feelings of depression.

229      55.        Nevertheless, staff held Mr. Ahn in isolation and failed to investigate

230            any alternative housing placement that would accommodate Mr. Ahn’s

231            mental state.

232      56.        At this point, because of his isolation, Mr. Ahn began expressing his

233            suicidal ideation to people beyond medical staff, including his brother,

234            Young Ahn.

235      57.        On May 16, 2020, a clinical psychologist subcontracted by GEO Group

236            reported that Mr. Ahn appeared to be at “high suicidal risk if deported.”

237      58.        On the morning of May 17, 2020, an attorney for Mr. Ahn emailed

238            ICE, requesting that the agency return him to his dormitory because isolation

239            was proving detrimental to his mental health.

240      59.        Also on May 17, 2020, a contracted medical provider employed by the

241            company Wellpath indicated that Mr. Ahn’s mental illness was “severe” and

242            again stated that Mr. Ahn was at “high risk of suicide if deported.”

243      60.        At that point, along with his extreme isolation, Mr. Ahn faced the

244            imminent threat of deportation. His next scheduled hearing in his removal



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245               proceedings was May 19, 2020, and he remained uncounseled in his removal

246               proceedings.

247         61.        Despite the deteriorating and well-documented state of Mr. Ahn’s

248               mental health, and despite internal policies directing otherwise, on the

249               evening of Sunday, May 17, 2020, GEO Group staff left Mr. Ahn

250               unobserved in the isolation cell with access to bed sheets and a tie off point.

251         62.        During the period when he was unobserved, Mr. Ahn died by hanging

252               himself with a bedsheet.

253         63.        On that day, Sylvia Ahn permanently lost her father.

254   II.              Presentment of Claims
255
256         64.        On May 17, 2022, Plaintiff submitted an administrative claim to ICE

257               under the FTCA (Exhibit B). The claim alleged that ICE falsely imprisoned

258               Mr. Ahn, inflicted on him intentional emotional distress, and caused his

259               death through its negligence.

260         65.        On October 11, 2022, ICE denied Plaintiff’s administrative claim

261               (Exhibit C).

262   III.             Applicable Standards and Protocols
263
264         66.        ICE has authority to set standards for privately-operated detention

265               facilities through its contracts and has set such standards.




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266      67.        Among other standards, GEO Group is subject to Performance-Based

267            National Detention Standards 2011 (PBNDS 2011). So is ICE.

268      68.        PBNDS impose standards and protocols for, inter alia, detainees at risk

269            of suicide and detainees with disabilities.

270      69.        Under those standards, Defendants ICE and GEO Group are required to

271            identify detainees with a risk of suicide or self-harm in an initial screening,

272            to be conducted within 12 hours of admission. 2011 PBNDS 4.6 Significant

273            Self Harm and Suicide Prevention and Intervention.

274      70.        Defendants also must remain vigilant in recognizing and reporting

275            detainees who show a risk of suicide or self-harm any time after admission.

276      71.        Once a detainee is identified as at-risk of suicide or self-harm,

277            Defendants must refer the detainee for an evaluation by a mental health

278            provider within 24 hours.

279      72.        In between the identification and evaluation, Defendants must place the

280            detainee in a secure environment with one-to-one visual observation.

281      73.        A qualified mental health professional must conduct the evaluation.

282            The professional must determine the level of risk, level of supervision

283            needed, a treatment plan, and the potential need for transfer to an inpatient

284            mental health facility. The professional’s evaluation must rely, among other




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285            things, upon the detainee’s relevant history, diagnoses, and environmental

286            factors.

287      74.        The professional may place the detainee in a special isolation room

288            designed for evaluation and treatment with continuous monitoring that must

289            be documented every 15 minutes or more frequently if necessary. The

290            isolation room must be suicide-resistant, including that it be free from any

291            features that could facilitate a suicide attempt.

292      75.        If there is no special isolation room available, then the suicidal detainee

293            may be temporarily placed in a special management unit. While in that unit,

294            the detainee shall have access to all programs and services that are available

295            to the general population, to the maximum extent possible. Detainees on

296            suicide precautions who have not been placed in a special isolation room

297            should receive documented close observations at least every 15 minutes.

298      76.        The protocols also impose training obligations. Defendants must

299            provide all facility staff members who interact with and/or are responsible

300            for detainees with comprehensive training initially during orientation and

301            repeated at least annually, on effective methods for identifying significant

302            self-harm, as well as suicide prevention and intervention with detainees.

303            Initial training should consist of at least eight hours of instruction, and

304            subsequent annual trainings should be a minimum of two hours.



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305      77.        PBNDS 2011 also details protocols for detainees with disabilities. 2011

306            PBNDS 4.8.

307      78.        A detainee is disabled if they have a physical or mental impairment

308            that substantially limits a major life activity, or if they have a record of such

309            an impairment.

310      79.        To identify a detainee with a disability, Defendants shall consider

311            information submitted by a third party, including an attorney, family

312            member, or other detainee in order to identify detainees with disabilities.

313      80.        Defendants are also required to identify detainees whose impairments

314            are “open, obvious, and apparent.” This kind of identification may occur

315            through medical or intake screenings, or direct observation.

316      81.        Upon identifying a detainee with a disability, the facility must review

317            the detainee for necessary accommodations.

318      82.        If the detainee’s disability accommodations are “complex or best

319            addressed by staff from more than one discipline (e.g., security,

320            programming, medical, or mental health, etc.),” then the accommodation

321            should be reviewed by a multidisciplinary team.

322      83.        Defendants may deny accommodations to a detainee only if the

323            detainee can access the facility’s programs, services, or activities without

324            them; there is no relationship between the disability and the accommodation;



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325            the accommodation would fundamentally alter the program or impose an

326            undue burden; or the detainee poses a direct threat to staff or other detainees.

327      84.        As with self-harm and suicide, PBNDS 2011 imposes obligations on

328            Defendants to train their staff on these requirements. Staff must receive the

329            information during an orientation training, and then annually thereafter.

330

331                                    CLAIMS FOR RELIEF
332
333                            COUNT ONE: WRONGFUL DEATH
334                            Plaintiff against Defendant GEO Group
335
336      85.         Plaintiff realleges and incorporates by reference all allegations in the

337            foregoing paragraphs.

338      86.        “The elements of a wrongful death claim are: (1) a wrongful act or

339            neglect that (2) causes (3) the death of another person.” Estate of Vela v.

340            County of Monterey, 2018 WL 4076317, at *13 (N.D. Cal. 2018) (citing Cal.

341            Civ. P. Code § 377.60 and Norgart v. Upjohn Co., 21 Cal. 4th 383, 390

342            (1999)).

343      87.        Wrongful acts include “any kind of tortious act.” Barrett v. Superior

344            Court, 222 Cal. App. 3d 1176, 1191 (1990). Because detainees are helpless

345            to protect themselves while in the custody and control of an immigration

346            detention facility, GEO Group owes detainees a heightened duty of care.

347            See, Edison v. U.S., 822 F.3d 510, 521-22 (9th Cir. 2016).

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348      88.        Wrongful acts also include constitutional violations. See, e.g.,

349            Villarreal v. Cty. of Monterey, 254 F. Supp. 3d 1168, 1191 (N.D. Cal. 2017)

350            (deliberate indifference to medical needs is a “wrongful act”).

351      89.        Here, GEO Group:

352               a. Failed to identify Mr. Ahn as disabled or at-risk for suicide or self-

353                  harm during an initial screening. GEO Group staff failed, during that

354                  screening, to effectively inquire into Mr. Ahn’s relevant medical

355                  history and prior suicide attempts.

356               b. Failed to identify Mr. Ahn as disabled or at-risk of suicide or self-

357                  harm at any time after his initial screening, despite Mr. Ahn’s

358                  repeated statements expressing feelings of depression, anxiety, low

359                  energy, and possible suicidal ideation, including to GEO Group staff.

360               c. Failed to provide Mr. Ahn with a necessary mental health evaluation

361                  or treatment.

362               d. Locked Mr. Ahn into a solitary confinement cell, despite the fact that

363                  GEO Group staff knew that Mr. Ahn had mental illness, and that

364                  isolating a person with mental illness causes their condition to

365                  deteriorate and creates a substantial risk of self-harm or suicide.

366                  Locking Mr. Ahn in solitary confinement also denied him a safe place




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367                  to sleep by reason of his disability, when he could have been housed

368                  elsewhere.

369               e. Failed to inspect the cell for any implements that could facilitate self-

370                  harm or suicide, and so left the cell with a bed sheet and tie-off point.

371               f. Failed to appropriately observe Mr. Ahn in accordance with the

372                  observation needs and requirements for someone with Mr. Ahn’s

373                  mental health conditions.

374      90.        These acts and omissions constitute negligence, negligence per se,

375            violations of federal disability law, and violations of the U.S. Constitution.

376      91.        The negligent acts and omissions were performed by GEO Group and

377            its agents or employees who acted within the scope of their employment for

378            GEO Group.

379      92.        It was reasonably foreseeable that these acts and omissions would

380            place Mr. Ahn at substantial risk of self-harm or suicide, and these acts and

381            omissions proximately caused Mr. Ahn’s death.

382      93.        Mr. Ahn’s death caused Sylvia Ahn, the Plaintiff, to lose her father and

383            resulted in pain and suffering from that loss.

384      94.        Because GEO Group’s negligence, negligence per se, and recklessness

385            proximately caused Mr. Ahn’s death, California law allows Plaintiff, his

386            daughter, to recover for the full value of Plaintiff’s life, and to seek punitive



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387            damages in these circumstances, which present wanton, reckless, and

388            depraved actions by GEO Group, which will continue to claim the lives of

389            people locked inside its facilities in the absence of judicial opprobrium and

390            punishment by a jury.

391
392        COUNT TWO: DISABILITY DISCRIMINATION – VIOLATION OF
393                      THE REHABILITATION ACT
394                   Plaintiff against Defendant GEO Group
395

396      95.         Plaintiff re-alleges and incorporates by reference all allegations in the

397            foregoing paragraphs.

398      96.         Section 504 of the Rehabilitation Act, 29 U.S.C. § 794, prohibits

399            discrimination on the basis of disability in (1) any program or activity

400            receiving federal financial assistance; or (2) under any program or

401            activity conducted by any Executive agency or the United States Postal

402            Service. 29 U.S.C. § 794.

403      97.         Section 504 of the Rehabilitation Act requires covered parties to

404            provide “reasonable accommodations” to individuals with disabilities so

405            they can fully participate in benefits administered by these agencies. 29

406            U.S.C. § 794(a).

407      98.         DHS regulations implementing the Rehabilitation Act mandate that

408            “[n]o qualified individual with a disability in the United States, shall, by



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409            reason of his or her disability, be excluded from participation in, be denied

410            benefits of, or otherwise be subjected to discrimination under any program

411            or activity conducted by the Department.” 6 C.F.R. § 15.30; see also 29

412            U.S.C. § 794(a).

413      99.         The regulations implementing Section 504 prohibit entities receiving

414            federal financial assistance from utilizing “criteria or methods of

415            administration (i) that have the effect of subjecting qualified handicapped

416            persons to discrimination on the basis of handicap, (ii) that have the purpose

417            or effect of defeating or substantially impairing the accomplishment of the

418            objectives of the recipient’s program or activity with respect to handicapped

419            persons.” 34 C.F.R. § 104.4(b)(4).

420      100.               The removal proceedings are a benefit or program administered

421            by DHS and Mr. Ahn was entitled to participate in the removal process. The

422            services, programs, and activities within the detention centers where DHS

423            detained Mr. Ahn receive substantial federal financial assistance.

424      101.       GEO Group operates a program or activity at Mesa Verde by contract

425            with and for ICE and it receives federal financial assistance for this

426            operation.

427      102.        GEO Group’s federal financial assistance also includes subsidies that

428            the corporation receives in connection with its Voluntary Work Program for



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429         federal immigration detainees housed at GEO Group facilities, through

430         which: (a) the United States authorizes GEO Group to use detainees to

431         perform essential work at wages far, far below market rates, work that GEO

432         Group would otherwise be required to carry out with additional staff hired

433         from the community at market rates, thus providing GEO Group with a

434         significant financial benefit; and (b) the United States provides GEO Group

435         a stipend of $1 per day for each detainee who participates in the Voluntary

436         Work Program. See 8 U.S.C. § 1555(d); 2011 Performance-Based National

437         Detention Standards, Section 5.8, Voluntary Work Program, available

438         online: https://www.ice.gov/doclib/detention-standards/2011/5-8.pdf (Last

439         accessed June 17, 2022).

440      103.      Additionally, GEO Group’s federal financial assistance includes

441         subsidies that the corporation receives in connection with revenues obtained

442         through commissary. In its Intergovernmental Service Agreement with GEO

443         Group to operate Mesa Verde, ICE authorizes GEO Group to use the excess

444         revenues from detainees’ purchases of commissary items to offset staff

445         salaries that GEO Group would have otherwise been required to pay in-full.

446      104.      GEO Group also receives federal financial assistance by providing

447         their officers free staff meals prepared by detainees through the food budget

448         allocated by ICE.



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449      105.    All operations in Mesa Verde are considered a “program, service, or

450         activity.” The Rehabilitation Act of 1973 defines a “program or activity” as

451         “all of the operations of . . . a department, agency, . . . or instrumentality of

452         a State or of a local government.” 29 U.S.C. § 794(b)(1(A) (emphasis

453         added). It also includes “all of the operations of . . . an entire corporation . . .

454         which is principally engaged in the business of providing education, health

455         care, housing, social services, or parks and recreation,” or “the entire plant

456         or other comparable, geographically separate facility to which Federal

457         financial assistance is extended, in the case of any other corporation.” 29

458         U.S.C. § 794(b)(3)(A) and (B) (emphasis added). This includes all

459         operations of an “entity which is established by two or more of the entities.”

460         29 U.S.C. § 794(b)(4) (emphasis added).

461      106.      In its Component Self-Evaluation and Planning Reference Guide,

462         DHS acknowledges that its “federal conducted programs” include “operation

463         of immigration detention facilities.”

464      107.      The DHS document further states that “[a] Component’s activities

465         carried out through contracts are considered conducted activities and are

466         subject to the same obligation [of complying with the Rehabilitation Act].”

467         Id. See also Instruction on Nondiscrimination for Individuals with

468         Disabilities in DHS Conducted Programs and Activities (Non-Employment),



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469         DHS Directives System Instruction No. 065-01-001 (defining conducted

470         activities of DHS to include “those carried out through contractual or

471         licensing arrangements”).

472      108.    Additionally, Congress has required ICE to ensure contractors like

473         GEO Group fully implement the programmatic guarantees of the PBNDS

474         2011.

475      109.    As administered by contractual agreement at Mesa Verde, the PBNDS

476         constitutes a federal program under the authority of 8 U.S.C. § 1103(a)(11)

477         that ensures access to services including safe sleeping facilities, telephone

478         calls, adequate medical, dental, and mental health care (including outside

479         care), recreation, commissary, law library, visitation, counsel, and

480         appropriate classification in civil immigration detention. Mr. Ahn was

481         entitled to all of the benefits administered by GEO Group through PBNDS

482         and their contract terms.

483      110.       The removal proceedings are also a benefit or program administered

484         by DHS and Mr. Ahn was entitled to participate in this removal process. The

485         federal benefit provided by GEO Group at Mesa Verde includes ensuring

486         detained immigrants like Mr. Ahn have meaningful access to and

487         participation in the adjudication of the charges justifying their detention at

488         Mesa Verde, determination of their eligibility for release from custody



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489         pending resolution of those charges, and adjudication of their claims for

490         relief in removal proceedings conducted by the Department of Justice’s

491         Executive Office for Immigration Review. See generally 8 U.S.C. §§ 1229

492         (setting forth rights of noncitizens against who the government initiates

493         removal proceedings), 1229a(b)(4), 1229a(c)(2)(B), 1229a(c)(4).

494      111.    Mr. Ahn was an individual with a disability. He had diabetes and heart

495         disease, serious illnesses that put patients at a high risk of serious injury or

496         death from COVID-19. He also had depression and a history of suicide

497         attempts. These conditions qualify as disabilities for purposes of the

498         Rehabilitation Act. 29 U.S.C. §705(2)(B); 42 U.S.C. § 12102.

499      112.    In February 2020, ICE, through its subdivision, ERO, took custody of

500         Mr. Ahn and transported him to Mesa Verde. GEO Group then took custody

501         of Mr. Ahn. Despite binding, non-discretionary corporate and contractual

502         policies regarding identification of individuals with serious mental illness or

503         other special vulnerabilities upon a person’s admission to Mesa Verde, GEO

504         Group facility administrators conducted only a cursory interview of Mr. Ahn

505         and failed to initially identify Mr. Ahn’s serious mental health issues.

506      113.    GEO Group discriminated against Mr. Ahn because of his disability in

507         myriad interconnected ways:




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508            a. First, GEO Group prevented Mr. Ahn from accessing basic services

509               such as a safe living space, toilets, recreation, timely medical care or

510               other programming without risk of death from heightened exposure to

511               COVID-19. Mr. Ahn requested an accommodation of his disabilities

512               repeatedly when he made requests for release and all of those requests

513               for accommodation were denied.

514            b. Second, GEO Group discriminated against Mr. Ahn when it placed him

515               in an isolation cell despite his mental health conditions. GEO Group

516               failed to provide Mr. Ahn with the service or benefit of a safe living

517               space without tie-off points, given his well-documented history with

518               suicidal ideation. While isolated, GEO Group prevented Mr. Ahn

519               from accessing their programs, services, or activities, including the

520               removal process, by taking actions that foreseeably would lead to Mr.

521               Ahn’s death because of his disability.

522            c. GEO Group failed to provide Mr. Ahn the reasonable accommodation

523               of a room that was regularly observed and devoid of implements with

524               which one could affect a suicide attempt.

525            d. GEO Group failed to provide Mr. Ahn with appropriate mental health

526               services or accommodations, despite Mr. Ahn’s long history with

527               depression and suicidal thoughts. As such, he was not given equal



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528               access to the removal proceedings or programming as individuals

529               without disabilities.

530            e. Further, GEO Group failed to consider the appropriateness of less-

531               restrictive alternatives to solitary confinement for individuals like Mr.

532               Ahn with serious mental illness. They failed to consider this even

533               though there was no legitimate purpose behind isolating Mr. Ahn

534               initially (as he had a negative COVID-19 test). GEO Group’s policies

535               and ICE’s contract require the facility administrator and

536               interdisciplinary staff to conduct regular, periodic reviews of people in

537               solitary confinement who suffer from mental health-related

538               disabilities, and to consider them for release to general population.

539            f. GEO Group’s COVID-19 and isolation policies and practices manifest

540               deliberate intentional discrimination and/or deliberate indifference to

541               the likelihood that detainees with serious mental health conditions

542               would suffer illegal discrimination at Mesa Verde.

543            g. GEO Group further failed to ensure that its staff had appropriate

544               training for responding to detained migrants, like Mr. Ahn, who

545               suffered from depression and suicidality.




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546      114.    GEO Group’s disability discrimination in violation of the

547         Rehabilitation Act caused Mr. Ahn’s emotional distress, deterioration, and

548         death.

549      115.    Plaintiff brings this claim Individually and as Successor-in-Interest as

550         defined in Section 377.11 of the California Code of Civil Procedure and

551         seeks survival damages for the violation of Decedent’s rights.

552
553       COUNT THREE: VIOLATION OF THE LAW OF NATIONS UNDER
554      THE ALIEN TORT STATUTE FOR TORTURE & CRUEL, INHUMANE
555                    AND DEGRADING TREATMENT
556                   Plaintiff against Defendant GEO Group
557

558      116.        Plaintiff re-alleges and incorporates by reference all allegations in the

559         foregoing paragraphs.

560      117.        The Alien Tort Statute (“ATS”), enacted in 1789, permits non-citizens

561         to bring suit in U.S. courts for violations of the law of nations or a treaty of

562         the United States. Under the ATS, federal courts are authorized to recognize

563         a common-law cause of action for violations of clearly defined, widely

564         accepted human rights norms.

565      118.        The United States has signed and ratified with reservations,

566         understanding, and declarations (“RUDs”) binding treaties banning

567         punishment of prolonged solitary confinement and solitary confinement of




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568         persons with mental illness for any period because it constitutes cruel,

569         inhuman and degrading treatment (“CIDT”) and torture.

570      119.     The Convention Against Torture and Other Cruel Inhuman and

571         Degrading Treatment (“CAT”) constitutes a clearly defined, widely accepted

572         human rights treaty obligation that the United States has signed and ratified

573         (with RUDs), ratified October 21, 1994, 1465 U.N.T.S. 85 (entered into

574         force June 26, 1987).

575      120.     The United States, as a state party to the CAT, has implemented its

576         obligations in domestic law. See, e.g., 8 C.F.R. § 208.18.

577      121.     Articles 1(1) and 16(1) of the CAT define torture and require the

578         United States to prevent it and CIDT within its jurisdiction.

579      122.     The United States has adopted with RUDs the International Covenant

580         on Civil and Political Rights (“ICCPR”). International Covenant on Civil

581         and Political Rights art. 7, ratified June 8, 1992, 999 U.N.T.S. 171 (entered

582         into force March 23, 1976)

583      123.     Art. 7 of the ICCPR states: “No one shall be subjected to torture or

584         [CIDT] or punishment . . . .”, and Art. 4(2) establishes this as a non-

585         derogable peremptory norm.

586      124.     The U.N. Special Rapporteur on Torture and Other CIDT has stated

587         that the “imposition, of solitary confinement of any duration, on persons



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588         with mental disabilities is cruel, inhuman or degrading treatment. (A/66/268,

589         paras. 67-68, 78). Moreover, any restraint on people with mental disabilities

590         for even a short period of time may constitute torture and ill-treatment.”

591         Special Rapporteur on Torture and Other [CIDT], Report of the Special

592         Rapporteur on torture and other cruel, inhumane or degrading treatment or

593         punishment, ¶ 63, U.N. Doc. A/HRC/22/53 (Feb. 1, 2013) Juan Mendez.

594      125.      Defendant GEO Group’s conduct described herein constitutes torture

595         and cruel, inhuman, and degrading treatment, a violation of “specific,

596         universal, and obligatory” international law norms, as evidenced by

597         numerous binding international treaties, declarations, and other international

598         law instruments. Accordingly, Defendant’s conduct is actionable under the

599         ATS.

600      126.      GEO Group tortured Mr. Ahn to death and subjected him to CIDT by

601         intentionally inflicting severe physical and mental pain and suffering upon

602         him for no facially legitimate purpose.

603      127.      Specifically, GEO Group supervisors ordered Mr. Ahn’s placement in

604         solitary confinement for medical quarantine despite a negative COVID-19

605         test and no legitimate or consistent justification for such confinement.

606      128.      GEO Group did this despite being specifically aware of Mr. Ahn’s

607         diagnosis of unspecified depression and his, at least, three prior suicide



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608         attempts. They also placed him in solitary confinement despite having

609         recently identified his mental illness as “severe.”

610      129.     GEO Group personnel knew that time in solitary confinement,

611         particularly for someone in Mr. Ahn’s condition, would inflict severe

612         psychological pain and put Mr. Ahn at an acute risk of suicide.

613      130.     Indeed, as a matter of corporate policy, every GEO Group detention

614         officer at Mesa Verde is required to receive suicide prevention training that

615         specifically warns of the acute risks of solitary confinement for people with

616         past histories of suicidal ideation, involuntary commitment, or diagnoses like

617         the one conferred on Mr. Ahn by the GEO Group’s own physicians.

618      131.     Painfully aware of the specific form of acute suffering and harm

619         segregation would inflict on a detained person with depression, suicidal

620         ideation and past suicide attempts, GEO Group intentionally condemned Mr.

621         Ahn to the acute psychological, emotional, and physical pain and suffering.

622      132.     GEO Group’s torture and CIDT of Mr. Ahn caused his death.

623      133.     Additionally, GEO Group provided Mr. Ahn the means and

624         opportunity to effectuate his suicide by refraining from observing Mr. Ahn

625         during the period when he died and by placing Mr. Ahn in a solitary

626         confinement cell with bed sheets and a tie off point—well known risk

627         factors for suicide.



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628      134.      GEO Group’s acts and omissions were deliberate, willful, intentional,

629         wanton, malicious, oppressive, and in conscious disregard for Mr. Ahn’s

630         rights under international and U.S. law and should be punished by an award

631         of punitive damages in an amount to be determined at trial.

632      135.      No absolute or qualified immunity exists to shield GEO group from

633         liability.

634      136.     Plaintiff brings this claim Individually and as Successor-in-Interest.

635
636             COUNT FOUR: NEGLIGENCE OR NEGLIGENCE PER SE
637                     Plaintiff against Defendant GEO Group
638
639      137.      Plaintiff re-alleges and incorporates by reference all allegations in the

640         foregoing paragraphs.

641      138.     “The elements of a negligence claim under California law are duty,

642         breach, causation, and injury.” Stasi v. Inmediata Health Group Corp., 501

643         F.Supp.3d 898, 912 (S.D. Cal. 2020) (citing Vasilenko v. Grace Family

644         Church, 3 Cal. 5th 1077 (2017)).

645      139.     Because detainees are helpless to protect themselves while in the

646         custody and control of an immigration detention facility, GEO Group owes

647         detainees a heightened duty of care. See, Edison, 822 F.3d at 521–22.

648      140.     Here, GEO Group:




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649             a. Failed to identify Mr. Ahn as at-risk for suicide or self-harm during an

650                initial screening, including because Defendant failed, during that

651                screening, to effectively inquire into Mr. Ahn’s relevant medical

652                history and prior suicide attempts.

653             b. Failed to identify Mr. Ahn as at-risk of suicide or self-harm at any

654                time after his initial screening, despite Mr. Ahn’s repeated statements

655                expressing feelings of depression, anxiety, low energy, and possible

656                suicidal ideation, including to GEO Group staff.

657             c. Failed to provide Mr. Ahn with a timely and adequate mental health

658                evaluation or treatment.

659             d. Locked Mr. Ahn into a solitary confinement cell, despite the fact that

660                Mr. Ahn had mental illness, and isolating a person with mental illness

661                causes their condition to deteriorate and creates a substantial risk of

662                self-harm or suicide.

663             e. Failed to inspect the cell for any implements that could facilitate self-

664                harm or suicide, and so left the cell with a bed sheet and tie-off point.

665             f. Failed to appropriately observe Mr. Ahn in accordance with the

666                observation needs and requirements for someone with Mr. Ahn’s

667                mental health conditions.

668      141.     These acts and omissions constitute negligence and negligence per se.



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669      142.     The negligent acts and omissions were performed by GEO Group and

670         its agents or employees who acted within the scope of their employment for

671         GEO Group.

672      143.     It was reasonably foreseeable that these acts and omissions would

673         place Mr. Ahn in emotional distress prior to his death and at substantial risk

674         of self-harm or suicide, and these acts and omissions proximately caused Mr.

675         Ahn’s death.

676      144.     Plaintiff brings this claim Individually and as Successor-in-Interest.

677
678             COUNT FIVE: INTENTIONAL INFLICTION OF EMOTIONAL
679                                      DISTRESS
680                       Plaintiff against Defendant GEO Group
681
682      145.      Plaintiff re-alleges and incorporates by reference all allegations in the

683         foregoing paragraphs.

684      146.      Intentional infliction of emotional distress encompasses “(1) extreme

685         and outrageous conduct by the defendant with the intention of causing, or

686         reckless disregard of the probability of causing, emotional distress; (2) the

687         plaintiff's suffering severe or extreme emotional distress; (3) and actual and

688         proximate causation of the emotional distress by the defendant's outrageous

689         conduct.” Pardi v. Kaiser Foundation Hospitals, 389 F.3d 840, 852 (9th Cir.

690         2004) (quoting Cervantez v. J.C. Penney Co., 24 Cal.3d 579, 593 (1979))

691         (internal quotations omitted).

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692      147.      GEO Group staff committed extreme and outrageous conduct against

693         Mr. Ahn when they, despite being aware of his mental health condition,

694         placed him in an isolation cell that they knew, or should have known, would

695         exacerbate his condition.

696      148.      This conduct was further extreme and outrageous because it was done

697         with full knowledge of at least three past suicide attempts and because the

698         isolation cell into which GEO Group staff placed Mr. Ahn was furnished

699         with implements with which one could die by suicide.

700      149.      GEO Group additionally committed extreme and outrageous conduct

701         when they failed to observe Mr. Ahn as required in the isolation cell.

702      150.      Because of Mr. Ahn’s mental health condition, his repeated

703         descriptions of his suicidality, and his past suicide attempts, placing Mr. Ahn

704         in an isolation cell recklessly disregarded the high probability that such

705         placement would cause Mr. Ahn extreme emotional distress.

706      151.      It did just that and Mr. Ahn began to emotionally deteriorate as a

707         result of his placement in isolation. As such, GEO Group’s actions were the

708         proximate cause of his emotional distress.

709      152.      Despite this, at no point did GEO Group release Mr. Ahn from

710         isolation and he continued to suffer increasing levels of severe emotional

711         distress.



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712      153.     This distress culminated when Mr. Ahn died by suicide in GEO

713         Group’s isolation cell, unobserved by any GEO Group staff.

714      154.    Plaintiff brings this claim Individually and as Successor-in-Interest.

715
716
717             COUNT SIX: NEGLIGENT TRAINING, SUPERVISION, AND
718                                   RETENTION
719                      Plaintiff against Defendant GEO Group
720
721      155.     Plaintiff re-alleges and incorporates by reference all allegations in the

722         foregoing paragraphs.

723      156.     An employer is negligent if they fail to adequately train their

724         employees as to the performance of their job duties, and as a result of such

725         negligent instruction, employees while carrying out their job duties caused

726         injury or damage to the plaintiff. See State Farm Fire & Casualty Co. v.

727         Keenan, 171 Cal.App.3d 1, 23, 216 Cal. Rptr. 318 (1985).

728      157.     PBNDS 2011 require GEO Group to provide all facility staff members

729         who interact with and/or are responsible for detainees with comprehensive

730         training initially during orientation and repeated at least annually, on

731         effective methods for identifying significant self-harm, as well as suicide

732         prevention and intervention with detainees. Initial training should consist of

733         at least eight hours of instruction, and subsequent annual trainings should be

734         a minimum of two hours.



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735      158.       PBNDS 2011 also require GEO Group to train staff as to detainees’

736         disability rights at an initial orientation, and then to refresh staff on the

737         material annually thereafter.

738      159.       GEO Group failed to adequately train its staff as required by PBNDS

739         2011.

740      160.       In addition, GEO Group failed to adequately train its staff as to: 1)

741         not placing people with mental health conditions in solitary; 2) proper

742         COVID protocols including the lack of need to isolate someone who tested

743         negative for COVID; 3) the need to remove implements from a solitary cell

744         that one could easily use to commit suicide; 4) the protocols for consistent

745         observation of people with depression and past suicide attempts.

746      161.       Those failures constituted negligence and negligence per se.

747      162.    It was reasonably foreseeable that these acts and omissions would

748         place Mr. Ahn at substantial risk of self-harm or suicide, and these acts and

749         omissions proximately caused Mr. Ahn’s death.

750      163.    Plaintiff brings this claim Individually and as Successor-in-Interest.

751
752         COUNT SEVEN: VIOLATIONS OF CAL. CIVIL CODE § 43, CAL.
753                        CIVIL CODE § 51 (UNRUH)
754                   Plaintiff against Defendant GEO Group
755
756      164.       Plaintiff re-alleges and incorporates by reference all allegations in the

757         foregoing paragraphs.

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758      165.     The Unruh Act provides that “[a]ll persons within the jurisdiction of

759         [California] are free and equal, and no matter what their sex, race, color,

760         religion, ancestry, national origin, disability, or medical condition are

761         entitled to the full and equal accommodations, advantages, facilities,

762         privileges, or services in all business establishments of every kind

763         whatsoever.” Cal. Civ. Code § 51(b).

764      166.     GEO Group is a “business establishment” subject to the Unruh Act

765         because Defendant is a for-profit business whose “overall function” is to

766         “protect and enhance [its] economic value,” O’Connor v. Vill. Green

767         Owners Assn., 33 Cal. 3d 790, 796 (1983), and whose “purpose [is] making

768         a livelihood or gain,” Ibister, 40 Cal. 3d 72, 95 (1985). See also Est. of Silva

769         v. City of San Diego, No. 3:18-CV-2282-L-MSB, 2020 WL 6946011, at *22

770         (S.D. Cal. Nov. 25, 2020) (quoting O’Connor, 33 Cal. 3d at 796) (holding

771         that private subcontractors who provided medical services inside county jails

772         were properly subject to the Unruh Act); also Wilkins-Jones v. Cty. of

773         Alameda, 859 F. Supp. 2d 1039, 1043 (N.D. Cal. 2012) (holding that a

774         private medical contractor is “qualitatively different from a correctional

775         facility itself; while the County’s operation of a jail may not be a business,

776         [the private medical contractor] is a business establishment operating for

777         profit within a correctional facility.”).



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778      167.     A violation of an individual’s rights under the ADA constitutes a

779         violation of the Unruh Act. Cal. Civ. Code § 51(f).

780      168.     Title III of the ADA provides: “No individual shall be discriminated

781         against on the basis of disability in the full enjoyment of the goods, services,

782         facilities, privileges, advantages, or accommodations of any place of public

783         accommodation by any person who owns, leases (or leases to), or operates a

784         place of public accommodation.” 42 U.S.C. § 12182(a).

785      169.     Mr. Ahn is an individual with a disability because he suffered from

786         depression, anxiety, and other mental illnesses that substantially limited his

787         ability to perform major life activities, including sleeping, communicating

788         and regular socialization.

789      170.     GEO Group operates Mesa Verde, which is a public accommodation.

790         See 42 U.S.C.A. § 12181(7)(K) (listing “social service center

791         establishment[s]” as a kind of public accommodation); see also Martin v.

792         PGA Tour, Inc., 204 F.3d 994, 998 (9th Cir.2000) (Selectivity about who

793         may enter or use the accommodation does not necessarily defeat its public

794         character.)

795      171.     GEO Group locked Mr. Ahn in an isolation cell, exacerbating his

796         mental illness. This conduct denied Mr. Ahn access to a safe place to sleep,

797         which is a program, service, or activity in a detention facility.



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798      172.     The denial constitutes discrimination against Mr. Ahn on the basis of

799         his disability, because GEO Group failed to provide him with a reasonable

800         accommodation (e.g., a different housing assignment) when one was

801         necessary.

802      173.     Mr. Ahn suffered harm as a result of Defendant’s acts and omissions.

803         Specifically, Mr. Ahn suffered exacerbation of his mental illness and

804         ultimately his death.

805      174.    Plaintiff brings this claim Individually and as Successor-in-Interest.

806
807       COUNT EIGHT: VIOLATIONS OF CAL. CIVIL CODE § 52.1 (BANE
808                                    ACT)
809                  Plaintiff against Defendant GEO Group
810
811      175.     Plaintiff re-alleges and incorporates by reference all allegations in the

812         foregoing paragraphs.

813      176.     The Bane Act creates a private right of action against any person

814         (whether or not acting under color of law) who interferes by threat,

815         intimidation, or coercion with the plaintiff’s enjoyment of rights created by

816         the U.S. constitution, federal laws, the California constitution, or California

817         state laws. Reese v. Cnty. of Sacramento, 888 F.3d 1030, 1040 (9th Cir.

818         2018).




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819      177.      The Fifth Amendment guarantees civil detainees a right to adequate

820         medical care. See Gordon v. Cnty. of Orange, 888 F.3d 1118, 1125 (9th Cir.

821         2018) (discussing the right in the context of the Fourteenth Amendment).

822      178.      A civil detainee’s Fifth Amendment rights are violated where: “(i) the

823         defendant made an intentional decision with respect to the conditions under

824         which the plaintiff was confined; (ii) those conditions put the plaintiff at

825         substantial risk of suffering serious harm; (iii) the defendant did not take

826         reasonable available measures to abate that risk, even though a reasonable

827         official in the circumstances would have appreciated the high degree of risk

828         involved—making the consequences of the defendant's conduct obvious; and

829         (iv) by not taking such measures, the defendant caused the plaintiff's

830         injuries.” Id.

831      179.      GEO Group interfered with Mr. Ahn’s enjoyment of his substantive

832         due process rights under the Fifth Amendment of the U.S. Constitution.

833      180.      (i) Defendant made an intentional decision to put Mr. Ahn in solitary

834         confinement on May 14th, 2020, when Mr. Ahn returned from the hospital.

835      181.      Placing Mr. Ahn in a solitary cell constitutes “coercion.” See Reese,

836         888 F.3d at 1040 (The “threat, intimidation or coercion” need not be

837         “transactionally independent from the constitutional violation alleged.”);

838         B.B. v. County of Los Angeles, 25 Cal. App. 5th 115, 130 (Cal. Ct. App.



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839         2018), rev’d on other grounds, B.B. v. County of Los Angeles, 10 Cal. 5th 1

840         (Cal. 2020).

841      182.     (ii) Because Mr. Ahn was depressive, that decision placed him at

842         substantial risk of harm.

843      183.     (iii) GEO Group did not take reasonable measures to abate that risk,

844         because Defendant did not, among other things, transfer Mr. Ahn out of

845         isolation, to a mental health institution, or place him under one-to-one

846         supervision. In fact, Defendant did nothing at all.

847      184.     GEO Group knew or should have known that Mr. Ahn was

848         depressive: Mr. Ahn reported symptoms of depression to a psychologist in

849         April 2020, and also told the psychologist that he had attempted suicide at

850         least three different times in custody in 2014, 2015, and 2016; GEO Group

851         employees witnessed Mr. Ahn acting abnormally, including being strangely

852         quiet and crying when his release request was denied; Mr. Ahn reported to a

853         psychologist again after being placed in solitary confinement that he had

854         feelings of depression; and on May 16, 2020, a Mesa Verde psychologist

855         said that Mr. Ahn had a high risk of suicide if deported. GEO Group also

856         knew or should have known that solitary confinement was dangerous to

857         Plaintiff, because the risks and adverse consequences of placing a person

858         with mental illness in solitary confinement is well-established. See, e.g.,



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859         Civil Rights Education and Enforcement Center, et. al., Complaint for

860         violations of civil, constitutional, and disability rights of Anderson Avisai

861         Gutierrez (Mar. 13, 2020),

862         https://www.splcenter.org/sites/default/files/2020-03-

863         13_anderson_avisai_gutierrez_crcl_504_complaint_.pdf (describing cases of

864         detainees who died by suicide following improper placement in

865         segregation); U.S. Department of Homeland Security, Memorandum to

866         Matthew Albence from Veronica Venture regarding Adelanto Correctional

867         Facility Complaints (April 25, 2018),

868         https://www.dhs.gov/sites/default/files/publications/adelanto-expert-memo-

869         04-25-18.pdf at 5 (”Detainees with serious mental disorders should only be

870         housed in administrative segregation as a last resort, as that environment is

871         not conducive to improving mental health status”); Memorandum from Ellen

872         Gallagher, Senior Policy Advisor, DHS CRC. to Deputy Secretary

873         Mayorkas, DHS (July 23, 2014) at 3 (stating that placing individuals in ICE

874         custody who suffer from serious mental health conditions into segregated

875         settings is non-therapeutic and “imposes improper punitive conditions, and

876         subjects vulnerable detainees to physical and mental deterioration”); Justin

877         D. Strong et al., The body in isolation: The physical health impacts of

878         incarceration in solitary confinement, PLOS ONE (Oct. 9, 2020),



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879         https://doi.org/10.1371/journal.pone.0238510 (explaining that “solitary

880         confinement is associated not just with mental, but also with physical health

881         problems” and “analyz[ing] a range of physical exacerbated by both

882         restrictive conditions and policies.”). In other words, the consequences of

883         Defendant’s acts and omissions were obvious.

884      185.       GEO Group also acted with “specific intent” to deprive Mr. Ahn of

885         his Fifth Amendment rights, because these acts and omissions are also

886         evidence of a “reckless disregard,” if not a knowing interference, of his

887         rights. See Reese, 888 F.3d at 1043-45 (citing Cornell v. City and County of

888         San Francisco, 17 Cal. App. 5th 766, 801 (2017)).

889      186.       As a result of GEO Group’s failure to take reasonable measures and

890         move Mr. Ahn out of solitary confinement, Mr. Ahn died by suicide. Mr.

891         Ahn’s depression was exacerbated by isolation and at the time that he

892         effectuated his suicide he was not visible to other detainees or GEO

893         employees who could have intervened.

894      187.      Plaintiff brings this claim Individually and as Successor-in-Interest.

895
896             COUNT NINE: NEGLIGENCE – FEDERAL TORTS CLAIMS ACT
897                                     28 U.S.C. §1346(b)
898                    Plaintiff against Defendants United States and ICE
899
900      188.       Plaintiff re-alleges and incorporates by reference all allegations in the

901         foregoing paragraphs.

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902      189.     “In order to establish negligence under California law, a plaintiff must

903         establish four required elements: (1) duty; (2) breach; (3) causation; and (4)

904         damages.” See Ileto v. Glock Inc., 349 F.3d 1191, 1203 (9th Cir.2003) (citing

905         Martinez v. Pac. Bell, 225 Cal.App.3d 1557, 1564 (1990)). “Although one

906         person is generally under no duty to protect another from harm, an affirmative

907         duty to protect another from harm may arise where a ‘special relationship’

908         exists between the parties … .” Martinez v. GEO Group, Inc., 2019 WL

909         3758026, at *3-4 (C.D. Cal. 2019) (quoting Tarasoff v. Regents of Univ. of

910         Cal., 17 Cal. 3d 425, 435 (1976)). “[I]mportant factors in determining whether

911         a relationship is ‘special’ include vulnerability and dependence.” Id. (quoting

912         Lawson v. Superior Court, 180 Cal. App. 4th 1372, 1390 (2010) (internal

913         quotations omitted).

914      190.     ICE owed Mr. Ahn, who was a vulnerable and dependent detainee in

915         its custody, both a duty of reasonable care and a duty to affirmatively protect

916         from harm. ICE breached its duty by declining to release Mr. Ahn from

917         detention during the COVID pandemic. ICE knew or should have known

918         that Mr. Ahn had severe medical problems and serious mental illnesses; that

919         the mental health care provided by GEO Group at Mesa Verde was

920         inadequate; that the pandemic posed particular dangers to Mr. Ahn,




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921         especially while he was in custody; and that there were no compelling

922         reasons to refuse release.

923      191.     ICE’s failure to release Mr. Ahn was unreasonable, and actually and

924         proximately caused Mr. Ahn to suffer extreme mental illness and distress,

925         which led him to commit suicide.

926      192.     Plaintiff has exhausted the administrative process required by the

927         FTCA before filing this claim.

928      193.    Plaintiff brings this claim Individually and as Successor-in-Interest.

929
930          COUNT TEN: NEGLIGENT HIRING – FEDERAL TORTS CLAIMS
931                               ACT 28 U.S.C. §1346(b)
932                 Plaintiff against Defendants United States and ICE
933
934      194.     Plaintiff re-alleges and incorporates by reference all allegations in the

935         foregoing paragraphs.

936      195.     An employer is subject to liability if, without exercising reasonable

937         care, they employ a contractor “(a) to do work which will involve a risk of

938         physical harm unless it is skillfully and carefully done, or [¶] (b) to perform

939         any duty which the employer owes to third persons.” And fail to use

940         reasonable care. Restatement Second of Torts § 411. Reasonable care is care

941         that “a reasonable [person] would exercise under the circumstances.” Golden

942         v. Conway, 55 Cal.App.3d 948, 957, 128 Cal.Rptr. 69 (1976). A defendant

943         has a “special relationship” to a plaintiff that is particularly vulnerable or

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944         dependent on them, and owes that plaintiff an affirmative duty of care. See,

945         e.g., Martinez, 2019 WL 3758026, at *3-4 (citations omitted).

946      196.     ICE is liable for negligently hiring GEO Group to operate Mesa

947         Verde. Operating a detention center carries risk of physical harm, because it

948         involves, inter alia: locking many people up in the same small space, against

949         their will, away from their friends, families, jobs, and communities, under

950         constant threat of deportation, and without means of providing for their own

951         basic necessities.

952      197.     ICE owed Mr. Ahn a duty of reasonable care, as well as an affirmative

953         duty to protect from harm. ICE breached that duty to Mr. Ahn when it hired

954         GEO Group in 2015 through the City of McFarland. Already at that time,

955         GEO Group had “long been criticized by advocacy organizations,

956         government agencies, and the press for inadequate medical care,

957         understaffing, violence, and other issues.” Among other incidents, before

958         ICE hired GEO Group, a detainee died at the nearby GEO Group-operated

959         Adelanto Detention Facility after receiving what the Office of Detention

960         Oversight described as an “unacceptable level of medical care.” ICE acted

961         unreasonably in hiring GEO Group anyways. And GEO Group then,

962         predictably, failed to maintain safe conditions at Mesa Verde during the




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963         pandemic, failed to provide Mr. Ahn with adequate mental health care, and

964         failed to prevent his suicide.

965      198.     ICE’s decision to hire GEO Group was the actual and proximate cause

966         of Mr. Ahn’s severe mental and emotional distress and eventual suicide.

967      199.     Plaintiff has exhausted the administrative process required by the

968         FTCA before filing this claim.

969      200.    Plaintiff brings this claim Individually and as Successor-in-Interest.

970

971         COUNT ELEVEN: NEGLIGENT SUPERVISION & RETENTION –
972              FEDERAL TORTS CLAIMS ACT 28 U.S.C. §1346(b)
973                Plaintiff against Defendants United States and ICE
974
975      201.     Plaintiff re-alleges and incorporates by reference all allegations in the

976         foregoing paragraphs.

977      202.     An employer “who entrusts work to an independent contractor, but

978         who retains control of any part of the work, is subject to liability for physical

979         harm to others for whose safety the employer owes a duty to exercise

980         reasonable care, which is caused by his failure to exercise his control with

981         reasonable care.” Restatement Second of Torts § 414.

982      203.     ICE owed Mr. Ahn, who was a detainee in its custody, a duty of

983         reasonable care and an affirmative duty to protect from harm. See, e.g.,




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 984         Martinez, 2019 WL 3758026, at *3-4. ICE breached that duty by failing to

 985         exercise its control over GEO Group with sufficient care. For example:

 986            a. ICE had authority to set standards and enforce compliance through

 987               inspections. But ICE’s inspections were perfunctory and unreliable,

 988               and did not identify the deficiencies with GEO Group’s medical or

 989               mental health care, or suicide prevention protocols.

 990            b. ICE had authority to penalize GEO Group for failing to meet

 991               standards, to decline to renew the contract in 2019, or to terminate the

 992               contract. ICE took none of those actions, even though it knew or

 993               should have known about the unsafe conditions at Mesa Verde and

 994               other GEO Group-operated facilities.

 995            c. ICE had authority to implement COVID-19 protocols, but failed to

 996               impose adequate safety measures. ICE also had authority to decide

 997               how many people were detained at Mesa Verde. Despite the

 998               dangerous conditions that the pandemic created at Mesa Verde, and

 999               despite the strain on the facility’s resources, ICE failed to reduce the

1000               density, heightening the risk of infection and straining the facility’s

1001               resources.




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1002      204.     ICE’s failure to use reasonable care in supervising GEO Group,

1003         particularly given the risks created by the pandemic, actually and

1004         proximately caused Mr. Ahn’s severe mental distress and eventual suicide.

1005      205.     Plaintiff has exhausted the administrative process required by the

1006         FTCA before filing this claim.

1007      206.    Plaintiff brings this claim Individually and as Successor-in-Interest.

1008

1009     COUNT TWELVE: NEGLIGENCE FOR NONDELEGABLE DUTIES –
1010           FEDERAL TORTS CLAIMS ACT 28 U.S.C. §1346(b)
1011             Plaintiff against Defendants United States and ICE
1012
1013      207.     Even when the United States hires and delegates certain duties to an

1014         independent contractor, it may be held directly liable for breaching

1015         nondelegable duties. See Edison, 822 F.3d at 519 (“[E]ven if it appears that

1016         the government delegated all of its duties to the independent contractor, we

1017         ask whether California law imposed any nondelegable duties on the

1018         government.”). The government retains a nondelegable duty of care to ensure

1019         a safe environment when a peculiar risk is involved. Yanez v. U.S., 63 F.3d

1020         870 (9th Cir. 1995) (holding that the federal government can be liable under

1021         the FTCA for a nondelegable duty to protect against inherently dangerous

1022         conditions in an explosives plant when it was aware of such conditions);

1023         Edison, 822 F.3d at 518 n.4. Federal detention agencies also retain a duty as



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1024         landowners and as jailers to warn of hidden dangers, a duty to protect

1025         prisoners from a known hazard if knowledge alone is inadequate for prisoners

1026         to protect themselves, and a duty to develop an adequate preventative policy.

1027         Id. at 520–23. “That the United States ha[s] a duty to protect [imprisoned]

1028         Plaintiffs is further bolstered by California's recognition of a special

1029         relationship between jailers and prisoners.” Id. at 521.

1030      208.     On information and belief, ICE was the landowner of Mesa Verde at all

1031         times relevant to this complaint.

1032      209.     By detaining people at Mesa Verde, ICE acts as a jailer and also

1033         undertakes an activity that involves a peculiar risk. Detaining people, even at

1034         the best of times, is a dangerous activity because it places many people in

1035         forced proximity, in a contained environment, where they are not free to

1036         provide for their own health and safety. The danger is even more acute during

1037         a pandemic, when congregate settings expose more people to infection and

1038         place even more strain on the facility’s staff, health care, and mental health

1039         resources. Mr. Ahn, as a detainee, could not have protected himself from the

1040         dangers of the COVID-19 pandemic, even if he had had knowledge of them.

1041      210.     ICE thus retained nondelegable duties of care to Mr. Ahn that included

1042         the duty to protect him from the known hazard of COVID-19, and the duty to

1043         develop an adequate COVID-19 prevention policy.



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1044      211.     ICE breached that duty in multiple ways, including by conducting

1045         superficial and inconsistent inspections of GEO Group’s operations at Mesa

1046         Verde, by maintaining high numbers of detention that required dense living

1047         conditions, and by failing to put in place adequate COVID-19 prevention

1048         policies and protocols at the facility during the time that Mr. Ahn was

1049         detained.

1050      212.     ICE’s failure to meet its duty of reasonable care, given this peculiar

1051         risk, actually and proximately caused Mr. Ahn to suffer extreme mental illness

1052         and distress that led him to commit suicide.

1053      213.     Plaintiff has exhausted the administrative process required by the

1054         FTCA before filing this claim.

1055      214.    Plaintiff brings this claim Individually and as Successor-in-Interest.

1056
1057       COUNT THIRTEEN: FALSE IMPRISONMENT – FEDERAL TORTS
1058                      CLAIMS ACT 28 U.S.C. §1346(b)
1059              Plaintiff against Defendants United States and ICE
1060
1061      215.     To establish false imprisonment under California law, a plaintiff must

1062         show “(1) nonconsensual, intentional confinement of a person, (2) without

1063         lawful privilege, (3) for an appreciable period of time, however brief.” See

1064         Bocanegra v. Jakubowski, 241 Cal.App.4th 848, 855, 194 Cal.Rptr.3d 327

1065         (2015) (internal quotations omitted). “A false imprisonment action may also

1066         be maintained if ‘the defendant unlawfully detains the [plaintiff] for an

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1067         unreasonable period of time’ after an otherwise legal seizure or arrest.”

1068         Rhoden v. U.S., 55 F.3d 428, 430 (9th Cir. 1995) (quoting Lincoln v. Grazer,

1069         163 Cal.App.2d 758 (1958)). The government’s lawful privilege to detain

1070         immigrants is circumscribed by the Fifth Amendment, which requires,

1071         among other things, that “the government … provide conditions of

1072         reasonable health and safety to people in its custody.” Roman v. Wolf, 977

1073         F.3d 935, 943 (9th Cir. 2020). The government violates this right, and

1074         therefore acts outside the scope of its lawful privilege, when: “(i) [It] made

1075         an intentional decision with respect to the conditions under which the

1076         plaintiff was confined; (ii) those conditions put the plaintiff at substantial

1077         risk of suffering serious harm; (iii) the [government] did not take reasonable

1078         available measures to abate that risk, even though a reasonable official in the

1079         circumstances would have appreciated the high degree of risk involved …;

1080         and (iv) by not taking such measures, the [government] caused the plaintiff’s

1081         injuries.” Gordon v. Cnty. of Orange, 888 F.3d 1118, 1125 (9th Cir. 2018).

1082      216.     ICE falsely imprisoned Mr. Ahn. The agency non-consensually and

1083         intentionally caused Mr. Ahn to be arrested and held at Mesa Verde, and

1084         then detained him for an appreciable period of time: i.e., three months, from

1085         February 2020 until he committed suicide in May 2020.




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1086      217.     ICE’s imprisonment of Mr. Ahn was without lawful privilege. ICE

1087         made several intentional decisions with respect to the conditions under

1088         which Mr. Ahn was confined—including the decisions to contract GEO

1089         Group to provide medical and mental health care, and the decision to

1090         continue filling the facility with detainees during the COVID-19 pandemic.

1091         Those conditions put Mr. Ahn—who was 74 years old, suffered from

1092         multiple comorbidities and severe mental illness, and had a history of

1093         suicide attempts—at significant and obvious risk of harm. ICE did nothing

1094         to abate that risk. Among other things, ICE failed to release Mr. Ahn during

1095         the pandemic. See Mendia v. Garcia, 165 F.Supp.3d 861, 876 (N.D. Cal.

1096         2016) (finding that plaintiff was able to state a claim of false imprisonment

1097         because he “contests the validity of the immigration detainer Defendants

1098         placed on him and argues they compelled him to remain in pretrial detention

1099         when he otherwise would not have had to do so.”). ICE also failed to

1100         implement or enforce adequate COVID-19 safety protocols, including a

1101         protocol for reducing the risk of infection that also did not put mentally ill

1102         detainees in danger; or decrease the density of detainees at Mesa Verde, to

1103         reduce both the risk of the virus spreading and the strain on GEO Group’s

1104         already limited resources.




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1105      218.     The conditions at Mesa Verde—which ICE either created or

1106         sanctioned—put Mr. Ahn in a situation where he suffered acute mental

1107         distress; was terrified of deportation and serious illness or death because of

1108         deportation; went without adequate mental health resources; and remained

1109         locked in an isolation cell that was not designed for suicide prevention and

1110         was inadequately monitored, making his mental health even worse.

1111         Predictably, those conditions led directly to his extreme emotional distress

1112         and suicide.

1113      219.     Plaintiff has exhausted the administrative process required by the

1114         FTCA before filing this claim.

1115      220.    Plaintiff brings this claim Individually and as Successor-in-Interest.

1116

1117      COUNT FOURTEEN: INTENTIONAL INFLICTION OF EMOTIONAL
1118        DISTRESS – FEDERAL TORTS CLAIMS ACT 28 U.S.C. §1346(b)
1119              Plaintiff against Defendants United States and ICE
1120
1121      221.     Plaintiff re-alleges and incorporates by reference all allegations in the

1122         foregoing paragraphs.

1123      222.     Under California law, intentional infliction of emotional distress

1124         includes the following: “(1) extreme and outrageous conduct by the

1125         defendant with the intention of causing, or reckless disregard of the

1126         probability of causing, emotional distress; (2) the plaintiff’s suffering severe



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1127         or extreme emotional distress; (3) and actual and proximate causation of the

1128         emotional distress by the defendant’s outrageous conduct.” Pardi, 389 F.3d

1129         at 852 (quoting Cervantez, 24 Cal.3d at 593) (internal quotations omitted).

1130      223.     Here, ICE’s conduct was extreme and outrageous. Mr. Ahn had

1131         multiple comorbidities that put him at risk of serious illness or death if he

1132         contracted COVID-19. He also had severe mental health issues that made

1133         him particularly susceptible to emotional distress—a fact about which ICE,

1134         which had access to all his records, was well-aware. Nonetheless, ICE

1135         continued to lock up Mr. Ahn in an unsafe facility with a high risk of

1136         contagion, under a constant threat of deadly infection or deportation. This

1137         conduct was extreme and outrageous, and, given Mr. Ahn’s conditions,

1138         recklessly disregarded the risk that it would subject him to extreme

1139         emotional distress. See, e.g., Mendia v. Garcia, 165 F.Supp.3d 861, 879

1140         (N.D. Cal. 2016) (Immigrant detainee who alleges that ICE “agents’ threat

1141         of deportation combined with [his] imprisonment under the detainer state

1142         plausible facts to support an intentional infliction of emotional distress

1143         claim.”); Plascencia v. United States, No. EDCV 17-02515 JGB (SPx), 2018

1144         U.S. Dist. LEXIS 229246, at *27-32 (C.D. Cal. May 25, 2018) (finding a

1145         plausible IIED claim at the motion to dismiss stage when ICE agents




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1146         threatened to deport her, finding that these statements were extreme as a

1147         matter of law).

1148      224.     ICE’s conduct was the actual and proximate cause of Mr. Ahn’s

1149         emotional distress—which was so severe that no reasonable person could be

1150         expected to endure it. Indeed, Mr. Ahn could not endure his distress, and

1151         ultimately committed suicide.

1152      225.     Plaintiff has exhausted the administrative process required by the

1153         FTCA before filing this claim.

1154      226.    Plaintiff brings this claim Individually and as Successor-in-Interest.

1155

1156                                   REQUEST FOR RELIEF
1157
1158
1159      227.    Enter judgment in favor of Plaintiff and against Defendants.

1160      228.    Enter an order declaring Defendants actions to be unlawful.

1161      229.    Award Plaintiff compensatory and punitive damages in an amount to

1162         be determined at trial.

1163      230.    Award Plaintiff reasonable attorney’s fees and costs.

1164      231.    Award any other relief this Court deems just, equitable, and proper.

1165

1166   Date: April 19, 2023

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1168                                                            Submitted by Sylvia Ahn
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1170                                                                    By her Counsel,
1171
1172                                                                     /s/ Oren Nimni
1173
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